 Fill in this information to identify the case:

 Debtor 1                  Glen H Green
 Debtor 2                  Esther L Green
 (Spouse, if filing)
 United States Bankruptcy Court for the:          Western        District of          Pennsylvania
                                                                                         (State)
 Case number                                  19-20959-GLT




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                       12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 The Money Source Inc.                                            Court claim no. (if known):                       8-1

Last four digits of any number you use to                                                          Date of payment change:
identify the debtor's account:                                                 2267                Must be at least 21 days after date of       08/01/2020
                                                                                                   this notice



                                                                                                   New total payment:
                                                                                                   Principal, interest, and escrow, if any $1,060.68

Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
    No
    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:      $494.10                                     New escrow payment:            $543.93

Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
    No
    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                 %                  New interest rate:                               %

                         Current principal and interest payment            $                       New principal and interest payment:      $

Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:
                         Current mortgage payment:           $                                      New mortgage payment:         $




Official Form 410S1                                              Notice of Mortgage Payment Change                                                      Page 1
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2225-N-1524
Debtor 1                                            Glen H Green                               Case Number (if known)           19-20959-GLT
                          First Name              Middle Name           Last Name



Part 4:      Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and t elephone number.
Check the appropriate box.

                        I am the creditor.

                       I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


    
                                                                                    




     /s/ Peter Knapp                                                                      Date      05/25/2020
       Signature


Print:             Peter Knapp                                                             Title    Authorized Agent for The Money Source Inc.
                    First Name            Middle Name             Last Name


Company            Bonial & Associates, P.C.


Address            14841 Dallas Parkway, Suite 425
                   Number                Street

                   Dallas, Texas 75254
                   City                  State                   Zip Code


Contact phone              (972) 643-6600                           Email     POCInquiries@BonialPC.com




Official Form 410S1                                             Notice of Mortgage Payment Change                                                Page 2
PmtChgForm1215
2225-N-1524
            CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE


I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before May 26, 2020 via electronic notice unless otherwise stated.

Debtor               Via U.S. Mail
Glen H. Green
923 Newell Road
Fayette City, PA 15438


Debtor               Via U.S. Mail
Esther L. Green
923 Newell Road
Fayette City, PA 15438


Debtors' Attorney
Daniel R. White
Zebley Mehalov & White, p.c.
18 Mill Street Square
P.O. Box 2123
Uniontown, PA 15401

Chapter 13 Trustee
Ronda J. Winnecour
Suite 3250, USX Tower
600 Grant Street
Pittsburgh, PA 15219


                                                      Respectfully Submitted,
                                                      /s/ Peter Knapp




PAYMENT CHANGE NOTICE - CERTIFICATE OF SERVICE                                                           2225-N-1524
                                                                                                     PmtChgCOS_0001
